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                                           EXHIBIT C

               Summary of O’Kelly Ernst & Bielli, LLC Blended Hourly Rates
                 (Customary and Comparable Compensation Disclosures)

                                                      Blended Hourly Rate
                                          Worked and Billed in     Billed in this Fee
             Timekeeper Category
                                             2015 (excluding          Application
                                          Restructuring lawyers)
          Partners                               $360.00                $350.00
          Associates                             $192.50                $179.31
          Legal Assistants/Paralegals            $107.50                $124.94
                                Total            $220.00                $242.28



Case Name:            Energy Future Holdings Corp.

Case Number:          14-10979 (CSS)

Applicant’s Name:     O’Kelly Ernst & Bielli, LLC

Date of Application: June 15, 2015

Interim or Final:     Interim
